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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

ARTHUR GURDEK

     Plaintiff,                      :
                                     :
V.                                   :   CASE NO. 3:15CV838(RNC)
                                     :
GRAGIL ASSOCIATES, INC., ET AL       :
                                     :
     Defendants.                     :

                                   ORDER

     The parties have reported that this action has been settled in

full. Rather than continue to keep the case open on the docket, the

Clerk is directed to close the file without prejudice to reopening

on or before October 10, 2015.

     If the parties wish to file a stipulation of dismissal (for

approval by the court or simply for inclusion in the court's file),

they may do so on or before October 10, 2015.

     The dates set forth in this order may be extended for good

cause pursuant to a motion filed in accordance with Local Rule 7

(b). So ordered.

     Dated at Hartford, Connecticut this 10th day of September 2015.



                                                  /s/ RNC
                                              Robert N. Chatigny
                                         United States District Judge
